
22 N.Y.2d 946 (1968)
The People of the State of New York, Respondent,
v.
George W. Herbison, Appellant.
Court of Appeals of the State of New York.
Argued October 7, 1968.
Decided October 16, 1968.
Leon Kesner and James D. Saver for appellant.
George J. Aspland, District Attorney (Thomas J. Klei of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, KEATING, BREITEL and JASEN.
Judgment reversed and information dismissed. There was no probable cause for the arrest of defendant. His confession immediately followed this unlawful arrest, and must be considered inadmissible under the facts of this case. Had the confession been admissible, defendant's culpability could have been deemed established by entry into the premises by his accomplices (former Penal Law, § 2, defining "principal"; People v. Katz, 209 N.Y. 311, 325-326; People v. Henry, 18 A D 2d 293). The People admit the insufficiency of their case.
